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Approv.
               MAtJREN COMEY
               Assistant United States Attorney

Before.        HONoBLE JUNITH C. MCCARTHY
                                        t
               United States Magis        Judge
               South er n Distrc t of New York

                                                     x

 UNITED STATES OF AMERICA

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                                                         Viol  io1 of
                       -
                                                         18 0
                                                            .S.C  § lO4Q
 BEREL WEISS
                                                         COUNTY OF OFFENSE.
                               Defendant             :   ROCKLAMD



SOUTHE DISTRICT OF NEW YORK,                 SS.:


          DAVID Woo, being duly SWorn  deposes and Says that he
is a Special Agent with the U.S. Department of Homeland Security
Office of Inspector General  and charges as follows.

                            COUNT ONE
  (Fraud in Connection with Moast                         or Emergency Benefits)

               1.     From at least in or about Septeflber 2011             up to
and iflcluding at least in or about January 2013, in the Southern
District of New York and elsewhere                    BEREL WEISS, the defendant
did knowingly falsf                conce   al    and cover up by trick    scheme
and devic   e              l
                materia facts, and did make materially false,
fictitious        and fraudulent statements and representati                  and
did make and use false writings and documen knowing the same
to contain materially false, 0              fic  0 tit5±   and fraudulent
Staten ef lt s  and representa       ti o n s    in matters involving benefits
autnorzed         tr an sp o rt ed   tra  n  s tt Cd    transferred  disbursed,
and a        r: 0 c C  i: r, e c
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conversations of others are reported herein, they are reported
in Substance and in part, except where otherwise indicated

            4. As part of my investigation   I have reviewed
records and other documents of the Departnent of Homeland
Security Federal Emergency Management Agency (“FEMA”) concerning
disaster relief funds provided following Hurricane Irene. Based
on those documents  I learned the following:

                    a.      On or about August 31, 2011, President
Ob am a decl ar ed a  m aj or disaster for the areas in the State of
New York affect    ed  by Hurricane Irene.

                       b.       On or about September 8, 2011, BEREL
W EI SS ,   th e defe nd an t   submitted to FEMA an Application for
Disas    te r  Assista nc e   dated September 6, 2011 seeking disaster
funds for his residence at 7 Cleveland Avenue, Spring Valley, NY
(“7 Cleveland Avenue”)             The application was Purportedly signed
by WEISS on September 7, 2011,            Also on or about September 8,
2011  ,   WEISS submitt     ed  to FEMA a handwritten letter stating that
the dwelling at 7 Cleveland Avenue was uninsured

                  c.    On or about September 26, 2011, WEISS
submitt ed to FE MA  a handwritten letter of appeal dated September
25, 2011 appealin  g  FEM’ decision not to provi assistance
                      5
related to personal Property damages, emphasizing that his
Property was damaged by Hurricane Irene.

                       d.   On or about October 7, 2011, WEISS submitted
to FEMA a complet Declaration of Continuing Need for Temporary
Rental Assistance form,             In that form, WEISS stated that his
pre-di  sa  st er  re nt  tota le d  $1,800 and his current rent totaled
$2,000  .                   t
             The documen was signed by WEISS and dated October 2,
2011.     The form included an affirmation stating “My housing
needs are not met by another Source.                am not receiving housing
assist an  ce   fro m  anot he r  publ ic agen cy Such as the Department of
Housin g   and urban Develop       m en t         s
                                          Veteran Affairs, a local housing
agency or other

                e,  Also on or about OCtober 7, 201:, WEI
su.bm
d
0     it t to FMA a handwritten letter dated September 15. 201.:
           written by an indjr±dual named Natbar Margareter   The
letter stated that Weiss rented an apartment- from Margareter on
40 Frances Place, Spnina Valley, NY 10952 (“4w Frances Place”)
for five months and would live in the apartment from September
2011 throua:n January 2012 due to damages to Weiss’ house caused
hr Hurrjcar,e Irene.
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‘I.




      per month in rent.           WEISs also submitted to PEMA a handwritten
      le tt er   da te d  Ju ly 3,  2012 stating that WEISS would be renting 40
      Pran  ce s  Plac from August 2012 through October 2012 at the same
                        e
      rate.

                              1.     On or about Septe,er 4, 2012, WEIS2
      submit    te d  to PEMA a completed Declaration of Continuing Need for
      Tempo    ra ry  Rental Assistance form, which was dated August 30,
      2012 and signed by WEIs                 The form included an affirmation
      st at in g   “M y  ho us in g  ne ed s ar e not met by another source. I am
         t
      no rece      iv in g hous   in g  assistance from another Public agency such
      as the Departnt of Rousing and Urban Develment Veterans
      Affairs, a local housing agency or other 0             organizat
                                                             n

                        m.  That same day, WEISS submitted to PEMA a
      handwri tt en letter dated Septem 1, 2012 stating that WEISg
      rented 40 Prances Place from August 2012 through October 2012
      and paid $2,000 per month in rent. WEISS also submitted to PERu
      a handwritten letter dated Septetj 4, 2012 stating that WEISS
      would be renting 40 Prances Place from Noveer 2012 through
      January 2013 at the same rate.

                      n.  As a result of these submissions from WEISs,
         I
      PE paid WEISS a total of $30,200 in nta disaster rental
      assistance for Hurricane Irene between on or about September 10,
      2011 and on or about January 31, 2013. All of these payments
      were made by checks sent through the U.S. Postal Service to
      WEISS at his 7 C1evel Avenue address in Rocicland County, New
      York.

                5.   As part of my 0investigaj I have revied
      records and other documents of PEMA concerning disaster relief
      funds provided following Hurricane Sandy. Based on those
      documents, I learned the following:

                     a.    On or about October 30, 2012, President
      Obama declared a major disaster for the areas in the State of
      New York affected by Hurricane Sandy.

                     b.   On or about January 1, 2013, BEREL WEISS,
      the defen   t  submitted an Application for Continued Temporary
      Housing Assistance to PER.% for damage caused to 7 Cleveland
      Avenue during Hurricane Sandy, which was dated January 1, 2013.
      The form included an affirmation by WEIS stating, “My household
      has a continuous need for Temporary Housing Assistance because
      our housing needs are not being met by another source, i. e., my
      household is not receiving housing assistance from another
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FEMA, which was signed by WEISS and dated June 23, 2013.   The
form included an affirmation stating, “My household has a
continuous need for Temporary Housing Assistance because our
housing needs are not being met by another source, i.e., my
household is not receiving housing assistance from another
public agency such as the U.S. Department of Housing and Urban
Development, U.S. Department of Veterans Affairs, a local
housing agency, or any other agency or organization providing
housing.”

                h.  That same day, WEISS submitted a letter
dated June 5, 2013 stating that WEISS had rented 43 Frances
Place in May, June, and July of 2013 for $2,800 per month.
WEISS also submitted to FEMA a handwritten letter dated June 15,
2013 stating that WEISS would be renting 43 Frances Place from
August 2013 through October 2013 at the same rate.

               i.    On or about August 25, 2013, WEISS submitted
an Application for Continued Temporary Housing Assistance to
FEMA, which was signed by WEISS and dated August 25, 2013.   The
form included an affirmation stating, “My household has a
continuous need for Temporary Housing Assistance because our
housing needs are not being met by another source, i.e., my
household is not receiving housing assistance from another
public agency such as the U.S. Department of Housing and Urban
Development, U.S. Department of Veterans Affairs, a local
housing agency, or any other agency or organization providing
housing.”

                j.   That same day, WEISS submitted a letter
dated August 25, 2013 stating that WEISS had rented 43 Frances
Place for August, September, and October of 2013 at $2,800 per
month.   WEISS also submitted to FEMA a handwritten letter dated
August 25, 2013 stating that WEISS would be renting 43 Frances
Place from November 2013 through January 2014 at the same rate.

                k.   Or. or about October 2, 2013, WEISS submitted
an Application for Continued Temporary Housing Assistance to
330Th, which was signed in WEISS and dated September 25. 2013.
The form inc luCed an a::rmatzon stating, “Mv riousehold nas a
continuous need for Temporary Housing Assistance because our
housing needs are not being met by another source, i.e., my
household is not receiving housing assistance from another
public agency such as the U.S. Department of Housing and Urban
IDevelopment, U.S. Department of Veterans Affairs, a local
housing agency, or any other agency or organization providing
3ousing,”
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“Well maintained and/or partially renovated.”  As a result of
that application, WEISS received Section 8 benefits for 7
Cleveland Avenue between September 1, 2011 and September 1,
2012.  Specifically, HUD paid WEISS’s landlord $1,527 per month
in rent, and WEISS was required only to pay S48 per month in
rent for 7 Cleveland Avenue.

               e.   On or about June 30, 2013, WEISS submitted
another Housing Assistance Payments application to HUD for 7
Cleveland Avenue for the period beginning on September 1, 2013,
affirming his residence at 7 Cleveland Avenue.  WEISS did not
disclose the FEMA disaster relief benefits he was receiving in
his Section 8 application.

               f.   As part of the application process for the
2013-14 Section 8 benefits year, HUD completed an inspection of
7 Cleveland Avenue.  The inspection, which took place in or
about July 2013, concluded that 7 Cleveland Avenue passed the
inspection in every respect and was found by the inspector to be
“Well maintained and/or partially renovated.”  As a result of
that application, WEISS received Section 8 benefits for 7
Cleveland Avenue between September 1, 2013 and September 1,
2014.  Specifically, HUD paid WEISS’S landlord $1,575 per month
in rent, and WEISS was required to pay $0 per month in rent for
7 Cleveland Avenue.

          7.   As part of my investigation, I have spoken to an
individual who lives near 7 Cleveland Avenue (“Witness—l”)
Based on that conversation, I have learned the following;

               a.   Witness-l has lived near 7 Cleveland Avenue
continuously since at least 2011.

               b.   Witness-l recalled that the Weiss family,
including BEREL WEISS, the defendant, has resided at 7 Cleveland
Avenue continuously for approximately 10 years.

               c,   Witness-1 did not recall the Weiss family
moving out of their residence for long periods of time during
the reriod when Witnessli lived ricer 7 Cleveland Avenue.

          8,   As rart of mu investigation, I have sooken to an
Individual ho lives near 43 Frances Place (“Witness-2”)    Based
on that conversation, I have learned the following:

               a.      Wicness—2 has lived near 43    Frances Place
since at least 2011,
____




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          WHEREFORE the deponent respectfully requests that
warrants be issued for the arrest of BEREL WEISS, the defendant,
and that he be arrested and imprisoned or bailed, as the case
may be.




                                 DAVID WOO
                                 Special Agent
                                 US. Department of Homeland
                                 Security, Office of Inspector
                                 General


Sworn to before me this
     day of September 2016




HONORABLE
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK
